                    IN THE UNITED STATES BANKRUPTCY COURT
                           NORTHERN DISTRICT OF OHIO
                                EASTERN DIVISION
   IN RE RICHARD M. OSBORNE, SR.                  CASE NO. 17-17361
                   Debtor                         JUDGE ARTHUR I. HARRIS
                                                  CHAPTER 11

   FIRST INTERIM APPLICATION OF FREDERIC P. SCHWIEG, ESQ. ATTORNEY AT LAW FOR
APPROVAL OF COMPENSATION AND REIMBURSEMENT OF EXPENSES AS COUNSEL FOR DEBTOR
                                AND DEBTOR IN POSSESSION
      Frederic P. Schwieg, Esq. Attorney at Law moves the Court for an order approving this

first interim application for attorney’s fees as counsel to Richard M. Osborne, Sr. as debtor and

debtor-in-possession (“Debtor”) in the amount of $69,685.00 and expenses of $1,887.07 and

allowing him $70,572.07 as an administrative expense against the bankruptcy estate and to

authorize him to reduce that sum from the remaining retainer he holds of $26,373.00.

       I. JURISDICTION
       The court has jurisdiction over this matter pursuant to 28 U.S.C. §1334(a) and (e) and

General Order 84 of the United States District Court for this District. This is a core proceeding

in which the Court may enter a final order pursuant to 28 U.S.C. §157(b)(2)(A),(M) and (O).

       II.     NARRATIVE SUMMARY
               A.     BACKGROUND
       This bankruptcy case was filed on December 17, 2017 with the Debtor represented by

attorney Glenn Forbes. Mr. Forbes had a conflict due to his representation of several companies

in other chapter 11 cases that were owned by the Debtor. Therefore on January 17, 2018 the

Debtor moved to employ applicant Frederic P. Schwieg, Esq. Attorney at Law (“Schwieg”) as

his counsel [Doc 28]. On February 6, 2018 the Court approved the retention of Mr. Schwieg

[Doc. 40] on an hourly basis, and all payments to be made to Frederic P. Schwieg, Esq. Mr.

Schwieg would be from funds held Mr. Schwieg as a retainer or from the Debtor; no other

payments have been promised to him other than those approved by the Court. Pursuant to the




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Order approving fees to Mr. Forbes, on May 22, 2018 Mr. Schwieg received the remaining

retainer amount held by Mr. Forbes of $26,373.00. Mr. Schwieg has filed no prior applications

in this case.

          Mr. Schwieg is an experienced bankruptcy lawyer having been practicing before this

Court since 1987. Mr. Schwieg is a former law clerk to the Hon. John F. Ray, Jr., and has

represented debtors, bankruptcy trustees, and Chapter 11 debtors in possession in numerous

bankruptcy cases.

          The hourly rates charged on the attached exhibit are the usual and customary charge to all

of Frederic P. Schwieg, Esq.’s clients for services of the type provided, at the time provided.

This application covers the period January 10, 2018 through June 9, 2018.

                    B. CASE STATUS
          The Debtor has remaining in possession of his assets and has recently completed an

extensive appraisal of his real estate. He is now employed and he is now in a position to move

the case forward and is evaluating options for doing so.

                    C.   PROJECT SUMMARY
          Mr. Schwieg was retained by the Debtor to represent him in all matters before this Court.

From the beginning, this case has been driven by a large amount of past litigation with various

parties and the value of the assets owned by the Debtor. Initially Mr. Schwieg worked to correct

the Debtor’s schedules which were complex requiring substantial time to find and record over

150 companies owned by the debtor and to determine which ones were operating as opposed to

merely being of record with the state of Ohio. Mr. Schwieg also attended hearings on the

dismissal of the Orwell-Trumbull Pipeline case, and filed motions to employ professionals to

assist with the collection and sale of assets. Mr. Schwieg prepared and filed motions to sell rela

estate and responded to objections to those motions. The value of those sales exceed $1 million.

Mr. Schwieg’s services are detailed on the attached invoice.


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                    D.   EXPENSES
          Mr. Schwieg incurred $1,887.07 in expenses in connection with this case.

                    E.   CONCLUSION
          Therefore, Frederic P. Schwieg, Esq. Attorney at Law requests that this Court enter an

order approving his legal fees in the amount of $69,685.00 and expenses of $1,887.07 and

allowing him $70,572.07 as an administrative expense against the bankruptcy estate and to

authorize him to reduce that sum from the remaining retainer he holds of $26,373.00.. A

proposed order is attached.

                                               Respectfully Submitted,
                                               /s/ Frederic P. Schwieg, Esq.
                                               Frederic P. Schwieg, Esq. (0030418)
                                               Attorney at Law
                                               2705 Gibson Dr
                                               Rocky River, OH 44116
                                               (440) 499-4506
                                               Fax (440) 398-0490
                                               fschwieg@schwieglaw.com




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                               CERTIFICATE OF SERVICE
A copy of this Amended Final Application for Approval of Attorney Fees and Reimbursement of
Expenses was served by was electronically transmitted on or about the date filed via the Court’s CM/ECF
system to the following who are listed on the Court’s Electronic Mail Notice list or was served by U.S. mail, postage
prepaid, or certified mail on the persons below as indicated below.
Electronic Mail Notice List
The following is a list of the parties who are on the list to receive e-mail notice/service for this case:
Gregory P. Amend on behalf of Creditor First National Bank of Pennsylvania
gamend@bdblaw.com, grichards@bdblaw.com

Alison L. Archer on behalf of Interested Party Lakeland Community College
alison.archer@ohioattorneygeneral.gov, Trish.Lazich@ohioattorneygeneral.gov;angelique.dennis-
noland@ohioattorneygeneral.gov

Adam S. Baker on behalf of Creditor Michael E. Osborne, Sr.
abakerlaw@sbcglobal.net, adam@bakerlaw.us;abakerlaw@gmail.com

Austin B. Barnes, III on behalf of Creditor Tax Ease Ohio, LLC
abarnes@sandhu-law.com, bk1notice@sandhu-law.com

Robert D. Barr on behalf of Creditor Chicago Title Insurance Company
rbarr@koehler.law, rbarr@koehler.law

David T. Brady on behalf of Creditor Tax Ease Ohio, LLC
DBrady@Sandhu-Law.com, bk1notice@sandhu-law.com

Stephen R. Franks on behalf of Creditor Bank of America, N.A.
amps@manleydeas.com

Christopher J. Klym on behalf of Creditor Ohio Department of Taxation
bk@hhkwlaw.com

Matthew H. Matheney on behalf of Creditor First National Bank of Pennsylvania
mmatheney@bdblaw.com, bhajduk@bdblaw.com

Timothy P. Palmer on behalf of Creditor The Huntington National Bank
timothy.palmer@bipc.com, donna.curcio@bipc.com

Kirk W. Roessler on behalf of Creditor Estate of Jerome T. Osborne
kroessler@walterhav.com, kballa@walterhav.com;slasalvia@walterhav.com

John J. Rutter on behalf of Creditor Mentor Lumber & Supply Co.
jrutter@ralaw.com

Frederic P. Schwieg on behalf of Debtor Richard M. Osborne
fschwieg@schwieglaw.com

Michael J. Sikora, III on behalf of Creditor Chicago Title Insurance Company
msikora@sikoralaw.com, aarasmith@sikoralaw.com;mtroha@sikoralaw.com

Nathaniel R. Sinn on behalf of Creditor First National Bank of Pennsylvania
nsinn@bdblaw.com, kslatinsky@bdblaw.com

Rachel L. Steinlage on behalf of Interested Party Zachary B Burkons
rsteinlage@meyersroman.com, jray@meyersroman.com;mnowak@meyersroman.com


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Andrew M. Tomko on behalf of Creditor Tax Ease Ohio, LLC
atomko@sandhu-law.com, bk1notice@sandhu-law.com

Jeffrey C. Toole on behalf of Interested Party Zachary B Burkons
toole@buckleyking.com, young@buckleyking.com;heberlein@buckleyking.com

Michael S. Tucker on behalf of Creditor Citizens Bank, N.A.
mtucker@ulmer.com

Maria D. Giannirakis ust06 on behalf of U.S. Trustee United States Trustee
maria.d.giannirakis@usdoj.gov

Scott R. Belhorn ust35 on behalf of U.S. Trustee United States Trustee
Scott.R.Belhorn@usdoj.gov


Richard M. Osborne, Sr. (via fax)
                                                     /s/ Frederic P. Schwieg
                                                     Frederic P. Schwieg




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                      IN THE UNITED STATES BANKRUPTCY COURT
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 IN RE RICHARD M. OSBORNE, SR.                      CASE NO. 17-17361
                  Debtor                            JUDGE ARTHUR I. HARRIS
                                                    CHAPTER 11

 ORDER GRANTING FIRST INTERIM APPLICATION OF FREDERIC P. SCHWIEG, ESQ. ATTORNEY
 AT LAW FOR APPROVAL OF COMPENSATION AND REIMBURSEMENT OF EXPENSES AS COUNSEL
                      FOR DEBTOR AND DEBTOR IN POSSESSION
          Before the Court is the First Interim Application of Frederic P. Schwieg, Esq. Attorney at

Law for Approval of Compensation and Reimbursement of Expenses as Counsel for Debtor and

Debtor in Possession [Doc. ___ ] (“Motion”). All parties in interest having been duly served

with notice of the Motion and the deadline to respond, and no party in interest having appeared

in opposition to the Motion, the Court being fully apprised in the premises, FINDS and

ORDERS as follows:

          THE COURT FINDS that the compensation requested as adjusted by the court at the

hearing is reasonable taking into account the nature and extent of such services, the time spent on

such services, and the rates charged. The Court finds that the services rendered were necessary

to the administration of the case, that they were performed in a reasonable amount of time



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commensurate with the complexity and importance and nature of the claim presented. The Court

finds that Mr. Schwieg has demonstrated skill and experience in the bankruptcy field and the

compensation is reasonable based on the customary compensation charged by comparably

skilled practitioners in cases other than under this title.

          IT IS THEREFORE ORDERED THAT Frederic P. Schwieg’s request for legal fees in

the amount of $69,685.00 and expenses of $1,887.07 and allowing him $70,572.07 as an

administrative expense against the bankruptcy estate is hereby APPROVED and he is authorized

to reduce that sum from the remaining retainer he holds of $26,373.00. The Debtor shall pay the

balance of the fees forthwith

                                                           ###

Prepared By:
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     ECF Service
The following is a list of the parties who are on the list to receive e-mail notice/service for this case:

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gamend@bdblaw.com, grichards@bdblaw.com

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alison.archer@ohioattorneygeneral.gov, Trish.Lazich@ohioattorneygeneral.gov;angelique.dennis-
noland@ohioattorneygeneral.gov

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abakerlaw@sbcglobal.net, adam@bakerlaw.us;abakerlaw@gmail.com

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rbarr@koehler.law, rbarr@koehler.law

David T. Brady on behalf of Creditor Tax Ease Ohio, LLC


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kroessler@walterhav.com, kballa@walterhav.com;slasalvia@walterhav.com

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jrutter@ralaw.com

Frederic P. Schwieg on behalf of Debtor Richard M. Osborne
fschwieg@schwieglaw.com

Michael J. Sikora, III on behalf of Creditor Chicago Title Insurance Company
msikora@sikoralaw.com, aarasmith@sikoralaw.com;mtroha@sikoralaw.com

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nsinn@bdblaw.com, kslatinsky@bdblaw.com

Rachel L. Steinlage on behalf of Interested Party Zachary B Burkons
rsteinlage@meyersroman.com, jray@meyersroman.com;mnowak@meyersroman.com

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toole@buckleyking.com, young@buckleyking.com;heberlein@buckleyking.com

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mtucker@ulmer.com

Maria D. Giannirakis ust06 on behalf of U.S. Trustee United States Trustee
maria.d.giannirakis@usdoj.gov

Scott R. Belhorn ust35 on behalf of U.S. Trustee United States Trustee
Scott.R.Belhorn@usdoj.gov




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Frederic P. Schwieg, Esq., Attorney at Law                                                   INVOICE
2705 Gibson Drive                                                                                  Invoice # 76
Rocky River, OH 44116                                                                         Date: 06/09/2018
Phone: 4404994506                                                                           Due On: 07/09/2018
Email: fschwieg@schwieglaw.com


Richard M. Osborne
7265 Markell Road
Waite Hill, OH 44094

Osborne-Individual Chapter 11-00074

Individual Chapter 11

 Services

  Type        Date                                Description                   Quantity    Rate      Total

 Service    01/10/2018   meeting R Osborne re background                            1.00   $300.00    $300.00

 Service    01/10/2018   call with G Forbes re status of schedules and events       0.30   $300.00     $90.00
                         going forward

 Service    01/10/2018   review filings to date                                     0.30   $300.00     $90.00

 Service    01/15/2018   call with R Osborne re suits                               0.20   $300.00     $60.00

 Service    01/16/2018   prepare Motion to Employ                                   0.40   $300.00    $120.00

 Service    01/17/2018   finalize Motion to Employ                                  0.30   $300.00     $90.00

 Service    01/17/2018   review schedules                                           1.00   $300.00    $300.00

 Service    01/18/2018   IDI                                                        1.80   $300.00    $540.00

 Service    01/18/2018   Meeting M Giannarakis and J Weaver re schedules and        0.30   $300.00     $90.00
                         341

 Service    01/18/2018   meeting G Forbes, Don and Cynthia and Rick re next         0.30   $300.00     $90.00
                         steps

 Service    01/18/2018   review file from G Forbes                                  1.50   $300.00    $450.00

 Service    01/22/2018   call with R Osborne re various matters                     0.30   $300.00     $90.00

 Service    01/22/2018   call with G Forbes re status of various matters            0.30   $300.00     $90.00

 Service    01/22/2018   call with G Dennin re foreclosure case in NY               0.30   $300.00     $90.00

 Service    01/22/2018   call with creditor re notices                              0.30   $300.00     $90.00

 Service    01/22/2018   call with D Whiteman re operating reports                  0.20   $300.00     $60.00




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  Service   01/22/2018   2 emails with D Whiteman re operating reports             0.40   $300.00    $120.00

  Service   01/22/2018   email with J Weaver re operating reports                  0.10   $300.00      $30.00

  Service   01/22/2018   review schedules re HNB loans                             0.50   $300.00    $150.00

  Service   01/22/2018   email with R Osborne Jr re sale commissions               0.20   $300.00      $60.00

  Service   01/23/2018   emails with D Whiteman and J Weaver re operating          0.50   $300.00    $150.00
                         reports

  Service   01/23/2018   review operating report draft                             0.50   $300.00    $150.00

  Service   01/23/2018   call with G Forbes re sales and out come of hearing       0.30   $300.00      $90.00

  Service   01/23/2018   call from creditor                                        0.20   $300.00      $60.00

  Service   01/29/2018   call with B Kelley re LLC sales                           0.20   $300.00      $60.00

  Service   01/29/2018   call with R Osborn re LLC sales                           0.20   $300.00      $60.00

  Service   01/29/2018   research foreclosure dockets                              1.00   $300.00    $300.00

  Service   01/29/2018   email with G Forbes re LLCs                               0.20   $300.00      $60.00

  Service   01/29/2018   Call with Wuliger office re LLCs                          0.20   $300.00      $60.00

  Service   01/30/2018   review Motion to Dismiss filed by FNBPA                   2.50   $300.00    $750.00

  Service   01/30/2018   work on schedule revisions                                1.50   $300.00    $450.00

  Service   01/30/2018   call with R Osborne re sale and FNBPA issues              0.20   $300.00      $60.00

  Service   01/30/2018   call with R Osborne re records                            0.20   $300.00      $60.00

  Service   01/31/2018   review PUCO response in Orwell                            1.30   $300.00    $390.00

  Service   01/31/2018   call to D Whiteman re information on transfers            0.20   $300.00      $60.00

  Service   01/31/2018   revisions to scheduels                                    1.00   $300.00    $300.00

  Service   01/31/2018   call with R Osborne re document return                    0.20   $300.00      $60.00

  Service   01/31/2018   prepare and file suggestions of bankruptcy in Lake and    1.00   $300.00    $300.00
                         Portage County cases

  Service   01/31/2018   call with J Tomaszewski re sale of stock to Michael       0.30   $300.00      $90.00
                         Osborne by RMO, Inc.

  Service   01/31/2018   review sale agreement for Concrete Company stock          0.50   $300.00    $150.00

  Service   01/31/2018   call with G Keating re foreclosure cases                  0.30   $300.00      $90.00

  Service   02/02/2018   call with G Forbes and then Chiron re options on Orwell   1.30   $300.00    $390.00

  Service   02/02/2018   further call with Chiron and Morris Anderson              0.80   $300.00    $240.00
                         representatives re marketing and value of assets

  Service   02/02/2018   call with R Osborne re schedules and sales of assets      0.40   $300.00    $120.00




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  Service   02/02/2018   call with C Coatam re real estate on schedules        0.30   $300.00      $90.00

  Service   02/02/2018   further call with C Coatam re real estate in PA       0.20   $300.00      $60.00

  Service   02/02/2018   revise schedules                                      3.00   $300.00    $900.00

  Service   02/02/2018   review of listing agreement with K W Commercial as    1.00   $300.00    $300.00
                         broker and law re same

  Service   02/03/2018   call with G Forbes re sale of gas entities            0.30   $300.00      $90.00

  Service   02/05/2018   Hearing on Motion to Dismiss Orwell case              8.00   $300.00   $2,400.00

  Service   02/06/2018   Hearing on Motion to Dismiss Orwell case              4.00   $300.00   $1,200.00

  Service   02/06/2018   call with D Whiteman re information fior schedules    0.50   $300.00    $150.00

  Service   02/06/2018   call with R Osborne re hearing and 341 meeting        0.20   $300.00      $60.00

  Service   02/06/2018   review schedules for revisions                        1.00   $300.00    $300.00

  Service   02/07/2018   call with D Whiteman re land co rents                 0.30   $300.00      $90.00

  Service   02/07/2018   revise schedules per email from D Whiteman            1.00   $300.00    $300.00

  Service   02/07/2018   call with M Giannarakis re rescheduled 341            0.20   $300.00      $60.00

  Service   02/07/2018   call with G Forbes re land company and bank options   0.40   $300.00    $120.00

  Service   02/07/2018   prepare and serve notice of rescheduled 341           0.50   $300.00    $150.00

  Service   02/07/2018   call with C Coatam re company transactions            0.30   $300.00      $90.00

  Service   02/07/2018   review company transactions from C Coatam             0.50   $300.00    $150.00

  Service   02/07/2018   call with C Coatam re company transactions listing    0.30   $300.00      $90.00

  Service   02/07/2018   revise schedules                                      3.00   $300.00    $900.00

  Service   02/08/2018   review changes to schedules from C Coatam             0.80   $300.00    $240.00

  Service   02/08/2018   call with C Coatam re changes to schedules            0.30   $300.00      $90.00

  Service   02/08/2018   revise schedules                                      1.50   $300.00    $450.00

  Service   02/09/2018   work on amendments to schedules                       3.00   $300.00    $900.00

  Service   02/12/2018   call with R Osborne re changes to company listing     0.70   $300.00    $210.00

  Service   02/12/2018   work on RMO company listing                           3.00   $300.00    $900.00

  Service   02/13/2018   call with R Osborne re company listing                0.30   $300.00      $90.00

  Service   02/13/2018   review company listing from R Osborne                 0.30   $300.00      $90.00

  Service   02/13/2018   work on company listing for schedules                 3.50   $300.00   $1,050.00

  Service   02/14/2018   review email from R M Osborne Jr re companies         0.50   $300.00    $150.00




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  Service   02/14/2018   work on company listing for schedules                     4.50   $300.00   $1,350.00

  Service   02/14/2018   conference call with Chiron re sale of entities           0.50   $300.00    $150.00

  Service   02/15/2018   call with C Coatoam re information on schedules and       0.40   $300.00    $120.00
                         company list

  Service   02/15/2018   further call with C Coatoam re information on schedules   0.20   $300.00      $60.00
                         and company list

  Service   02/15/2018   review company lists from C Coatoam and D                 0.60   $300.00    $180.00
                         Whitehouse

  Service   02/15/2018   revise schedules                                          5.30   $300.00   $1,590.00

  Service   02/15/2018   review receivers Motion for Relief                        0.50   $300.00    $150.00

  Service   02/16/2018   meeting R Osborne re schedules                            2.00   $300.00    $600.00

  Service   02/16/2018   call with G Keating re Chicago Title collection           0.30   $300.00      $90.00

  Service   02/16/2018   email from J Toole re electric notice                     0.20   $300.00      $60.00

  Service   02/16/2018   call with G Forbes re schedule D                          0.30   $300.00      $90.00

  Service   02/16/2018   Revise Schedules                                          4.00   $300.00   $1,200.00

  Service   02/17/2018   draft motion to sell Fracci Court                         2.50   $300.00    $750.00

  Service   02/17/2018   call with R Osborne re motion to sell and amount owed     0.20   $300.00      $60.00
                         FNB

  Service   02/19/2018   call with R Baumgart re Motion for Relief                 0.30   $300.00      $90.00

  Service   02/19/2018   call with C Coatam re Schedule Amendments                 0.30   $300.00      $90.00

  Service   02/19/2018   second call with C Coatam re Schedule Amendments          0.30   $300.00      $90.00

  Service   02/19/2018   call with B Sochor re Schedule Amendments                 0.30   $300.00      $90.00

  Service   02/19/2018   call with J Hackenberg re Motion to Sell                  0.20   $300.00      $60.00

  Service   02/19/2018   revise motion to sell and order                           0.50   $300.00    $150.00

  Service   02/19/2018   call with R Osborne re motion for relief and companies    0.30   $300.00      $90.00

  Service   02/19/2018   revise schedules                                          5.80   $300.00   $1,740.00

  Service   02/20/2018   call with R Osborne re creditors on schedule D            0.20   $300.00      $60.00

  Service   02/20/2018   further call with R Osborne re creditors on schedule D    0.20   $300.00      $60.00

  Service   02/20/2018   call with Jodi Tomazewski re creditors on schedule D;     0.30   $300.00      $90.00
                         company listing

  Service   02/20/2018   research on various courts to find two estate             0.80   $300.00    $240.00
                         representatives

  Service   02/20/2018   attention to service and filing of motion to sell         0.50   $300.00    $150.00




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  Service   02/20/2018   work on revisions to schedules                         4.20   $300.00   $1,260.00

  Service   02/26/2018   review FNBPA Motion for Relief and compare to          1.00   $300.00    $300.00
                         schedules

  Service   02/26/2018   call with C Coatoam re RBS amount                      0.20   $300.00      $60.00

  Service   02/26/2018   meeting R Osborne re schedules and sales, FNBPA        1.70   $300.00    $510.00
                         MFRSA

  Service   02/26/2018   revise and file schedules                              2.50   $300.00    $750.00

  Service   02/27/2018   call with R Osborne re meeting of creditors            0.30   $300.00      $90.00

  Service   02/28/2018   review company list from J Tomasewski and amend        1.50   $300.00    $450.00
                         shcedules

  Service   02/28/2018   call with R Osborne re letter and companies            0.20   $300.00      $60.00

  Service   02/28/2018   call with B Wuliger re Gas Natural Claim               0.40   $300.00    $120.00

  Service   02/28/2018   emails with R Baumgart re claim                        0.20   $300.00      $60.00

  Service   02/28/2018   further revisions to schedules                         1.50   $300.00    $450.00

  Service   03/01/2018   341 meeting                                            3.50   $300.00   $1,050.00

  Service   03/01/2018   travel to and from 341 meeting                         1.00   $150.00    $150.00

  Service   03/01/2018   call with D Whiteman re rent roll                      0.40   $300.00    $120.00

  Service   03/02/2018   call with R Osborne re various matters                 0.30   $300.00      $90.00

  Service   03/02/2018   further call with R Osborne re leases                  0.20   $300.00      $60.00

  Service   03/02/2018   call with G Denin re NY Foreclosure                    0.40   $300.00    $120.00

  Service   03/02/2018   call with creditor re claim                            0.20   $300.00      $60.00

  Service   03/03/2018   case law research for receiver motion for releif       1.00   $300.00    $300.00

  Service   03/05/2018   call with R Osborne re information for schedules       0.20   $300.00      $60.00

  Service   03/05/2018   call with G Forbes re company cases                    0.20   $300.00      $60.00

  Service   03/06/2018   call with R Osborne re sale offer                      0.20   $300.00      $60.00

  Service   03/06/2018   call with H rabb re JT Osborne Estate Claim            0.30   $300.00      $90.00

  Service   03/06/2018   research law on contempt and automatic stay            5.00   $300.00   $1,500.00

  Service   03/07/2018   call with S Dahl re company cases                      0.40   $300.00    $120.00

  Service   03/07/2018   call with W Wuliger re response to receiver            0.20   $300.00      $60.00

  Service   03/07/2018   email with R Baumgart re response to receiver motion   0.20   $300.00      $60.00

  Service   03/07/2018   emails with D Whiteman re rent roll                    0.20   $300.00      $60.00




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  Service   03/07/2018   revise form rent roll from D Whiteman                     0.40   $300.00    $120.00

  Service   03/07/2018   call with G Forbes re company cases                       0.20   $300.00      $60.00

  Service   03/07/2018   draft and revise response to receiver motion for relief   5.50   $300.00   $1,650.00

  Service   03/08/2018   call with R Baumgart re changes to response to FNB        0.80   $300.00    $240.00
                         motion for relief

  Service   03/08/2018   draft response to bank motion for relief                  5.00   $300.00   $1,500.00

  Service   03/08/2018   final changes and file response to receiver motion for    1.80   $300.00    $540.00
                         relief

  Service   03/09/2018   final changes and respond to motion to dismiss            1.00   $300.00    $300.00

  Service   03/12/2018   call with S Dahl re motion for relief                     0.20   $300.00      $60.00

  Service   03/12/2018   review declaration of non-consent                         0.40   $300.00    $120.00

  Service   03/12/2018   meeting R Osborne re schedule amendments                  0.90   $300.00    $270.00

  Service   03/13/2018   hearing on revivers Motion for relief                     2.00   $300.00    $600.00

  Service   03/13/2018   call from R Osborne re documents                          0.20   $300.00      $60.00

  Service   03/13/2018   call with S Dahl re estate''s claim                       0.40   $300.00    $120.00

  Service   03/14/2018   call with R Osborne                                       0.20   $300.00      $60.00

  Service   03/19/2018   call with R Osborne re sale                               0.20   $300.00      $60.00

  Service   03/19/2018   Call with J Hackenberg re sale of Fracci and UST          0.20   $300.00      $60.00
                         objection

  Service   03/19/2018   call from G Dennin re NY foreclosure                      0.20   $300.00      $60.00

  Service   03/19/2018   prepare motion to employ G Dennin as special counsel      0.80   $300.00    $240.00

  Service   03/19/2018   prepare motion to set claims bar date                     0.80   $300.00    $240.00

  Service   03/22/2018   meeting R Osborne re sales                                1.00   $300.00    $300.00

  Service   03/22/2018   email from R Osborne Jr re Fracci Ct marketing            0.20   $300.00      $60.00

  Service   03/22/2018   call with D Whiteman re operating reports                 0.40   $300.00    $120.00

  Service   03/22/2018   review February Operating Report                          0.50   $300.00    $150.00

  Service   03/22/2018   review January Operating report                           0.30   $300.00      $90.00

  Service   03/22/2018   prepare response to UST Objection to sale                 1.50   $300.00    $450.00

  Service   03/22/2018   call with J Hackenburg re Chicago Title objection         0.20   $300.00      $60.00

  Service   03/23/2018   finish response to UST objection to sale and file same    2.00   $300.00    $600.00

  Service   03/23/2018   draft reply to Chicago Title                              1.50   $300.00    $450.00




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  Service   03/26/2018   call with R Osborne re Erie Bank                       0.20   $300.00      $60.00

  Service   03/26/2018   revise and file response to motion for relief          1.50   $300.00    $450.00

  Service   03/26/2018   revise and file motion for order to shaw cause         1.00   $300.00    $300.00

  Service   03/26/2018   call with counsel fro purchaser of Reynolds Road       0.30   $300.00      $90.00

  Service   03/26/2018   emails from G Keating re motion to show cause          0.20   $300.00      $60.00

  Service   03/26/2018   review and prepare operating reports for January and   1.00   $300.00    $300.00
                         February

  Service   03/27/2018   hearings on oral ruling, FNB Motion for Relief and     3.50   $300.00   $1,050.00
                         Motion to sell

  Service   03/27/2018   travel to and from hearings                            1.00   $150.00    $150.00

  Service   03/27/2018   call with J Hackenberg re sale hearing                 0.10   $300.00      $30.00

  Service   03/27/2018   Draft order on Motion to sell                          1.00   $300.00    $300.00

  Service   03/27/2018   call with H Rabb re estate claim                       0.40   $300.00    $120.00

  Service   03/27/2018   call with K Roessler re estate claim                   0.20   $300.00      $60.00

  Service   03/28/2018   call with J Hackenburg re sale terms                   0.20   $300.00      $60.00

  Service   03/28/2018   call with R Barr re motion for contempt                0.30   $300.00      $90.00

  Service   03/28/2018   email to R Barr re motion for sanctions                0.20   $300.00      $60.00

  Service   03/28/2018   review Diane Osborne loan docs                         0.80   $300.00    $240.00

  Service   03/28/2018   review rent roll and Erie Bank loan docs               1.00   $300.00    $300.00

  Service   03/28/2018   call with S Dahl re consolidation                      0.20   $300.00      $60.00

  Service   03/28/2018   revise order on sale of Fracci court                   0.30   $300.00      $90.00

  Service   03/29/2018   call with S Dahl and G Forbes re options on cases      0.50   $300.00    $150.00

  Service   03/29/2018   review motion to intervene and determine changes to    1.00   $300.00    $300.00
                         schedules

  Service   03/29/2018   call with J Svete re Diane Osborne claim               0.20   $300.00      $60.00

  Service   03/29/2018   email with B Sochor re Erie Bank properties            0.20   $300.00      $60.00

  Service   03/29/2018   review Erie Bank POCs and loan docs                    0.80   $300.00    $240.00

  Service   03/29/2018   call with R Osborne re Erie Bank property              0.30   $300.00      $90.00

  Service   04/02/2018   call with G Keating re Concord Hampden                 0.40   $300.00    $120.00

  Service   04/02/2018   prepare notice of bankruptcy for RR Donnelley          0.50   $300.00    $150.00

  Service   04/03/2018   call with R Osborne re Williams road                   0.20   $300.00      $60.00




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  Service   04/03/2018   call with J Tomazewski re Diane stock pledge and        0.20   $300.00      $60.00
                         Leonardi purchase

  Service   04/03/2018   prepare motion to shorten notice                        1.00   $300.00    $300.00

  Service   04/03/2018   file operating reports                                  0.20   $300.00      $60.00

  Service   04/03/2018   call with R Sommers re sale of Girdled Road and         0.40   $300.00    $120.00
                         Concord Hampden

  Service   04/03/2018   call with G Keating re Concord Hampden foreclosure      0.30   $300.00      $90.00

  Service   04/03/2018   call with R Osborne re concord hambden sale             0.20   $300.00      $60.00

  Service   04/03/2018   call with R Osborne re changes to schedules and other   0.20   $300.00      $60.00
                         claims

  Service   04/04/2018   prepare motion to extend exclusivity                    1.00   $300.00    $300.00

  Service   04/04/2018   call with J Svete re Diane Osborne Claim                0.30   $300.00      $90.00

  Service   04/04/2018   prepare revisions to schedules per call with J Svete    1.00   $300.00    $300.00

  Service   04/04/2018   email with M Tucker re Girdled Road Sale                0.10   $300.00      $30.00

  Service   04/05/2018   meeting R Osborne re schedules and chse issues          1.00   $300.00    $300.00

  Service   04/06/2018   call with title agent re closing on Fracci Court and    0.30   $300.00      $90.00
                         Concord Hambden

  Service   04/06/2018   call with G Keating re Concord Hambden                  0.20   $300.00      $60.00

  Service   04/06/2018   further call with G Keating re Concord foreclosure      0.30   $300.00      $90.00

  Service   04/06/2018   draft motion to sell                                    1.50   $300.00    $450.00

  Service   04/06/2018   call with S Fink re Erie Bank cash collateral           0.30   $300.00      $90.00

  Service   04/09/2018   review contact and prepare motion to sell Williams      1.50   $300.00    $450.00
                         Road

  Service   04/09/2018   revise Motion to Sell Concord Hambden                   1.80   $300.00    $540.00

  Service   04/09/2018   call with R Osborne re Williams Road and Concord        0.20   $300.00      $60.00
                         Hambden sales

  Service   04/09/2018   email from G Keating re amount due on Concord           0.20   $300.00      $60.00
                         Hambden

  Service   04/09/2018   call with Notice Party re motion top limit notices      0.20   $300.00      $60.00

  Service   04/09/2018   call with Notice Party re motion top limit notices      0.20   $300.00      $60.00

  Service   04/10/2018   hearing on Motion for Relief and meeting with R         1.00   $300.00    $300.00
                         Osborne before and after

  Service   04/10/2018   call with B Wuliger re state court matters              0.50   $300.00    $150.00

  Service   04/10/2018   travel to and from hearing on Motion for Relief         1.50   $150.00    $225.00




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  Service   04/11/2018   revise Motion to Sell                                      1.50   $300.00    $450.00

  Service   04/12/2018   call with R Osborne re sale motion                         0.20   $300.00      $60.00

  Service   04/12/2018   revise motion to sell Concord Hambden                      1.00   $300.00    $300.00

  Service   04/12/2018   emails with Concord Hambden buyer re sale terms            0.20   $300.00      $60.00

  Service   04/12/2018   further call with R Osborne re sale terms                  0.20   $300.00      $60.00

  Service   04/16/2018   call with R Osborne re receiver contacting tenants         0.20   $300.00      $60.00

  Service   04/16/2018   further call with R Osborne re receiver actions            0.20   $300.00      $60.00

  Service   04/16/2018   research law on rule 4001                                  0.50   $300.00    $150.00

  Service   04/16/2018   email with R Sommers re Concord Hambden contract           0.20   $300.00      $60.00

  Service   04/16/2018   email with R Sommers re status of Girdled Road             0.20   $300.00      $60.00

  Service   04/16/2018   final changes to Motion to Sell Concord Hambden and        0.90   $300.00    $270.00
                         file same

  Service   04/16/2018   call with J Tomaszewski re Hathy transaction               0.20   $300.00      $60.00

  Service   04/16/2018   further call with J Tomaszewski re Hathy transaction       0.20   $300.00      $60.00

  Service   04/16/2018   email with T Flenner re Hathy assignment                   0.20   $300.00      $60.00

  Service   04/16/2018   further email with T Flenner re Hathy assignment           0.20   $300.00      $60.00

  Service   04/16/2018   review Haty documents                                      0.50   $300.00    $150.00

  Service   04/16/2018   call with G Keating re Chicago Title                       0.20   $300.00      $60.00

  Service   04/17/2018   call with T Flenner re Fracci closing issues               0.20   $300.00      $60.00

  Service   04/17/2018   review motion and order to continue hearing on motion      0.20   $300.00      $60.00
                         for contempt and email with R Barr re same

  Service   04/17/2018   email with R Sommers re hearing on motion to sell          0.10   $300.00      $30.00

  Service   04/17/2018   draft motion for contempt and withdrawal                   1.20   $300.00    $360.00

  Service   04/17/2018   call with creditor re proof of claim notice                0.20   $300.00      $60.00

  Service   04/17/2018   call with creditor re proof of claim notice                0.20   $300.00      $60.00

  Service   04/17/2018   call with creditor re proof of claim notice                0.20   $300.00      $60.00

  Service   04/17/2018   email with S Fink re Erie Bank                             0.20   $300.00      $60.00

  Service   04/18/2018   call with G Keating re settlement with Chicago Title and   0.50   $300.00    $150.00
                         Motion for Sanctions

  Service   04/18/2018   call with R Barr re settlement with Chicago Title and      0.20   $300.00      $60.00
                         Motion for Sanctions




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  Service   04/18/2018   Further call with R Barr re settlement with Chicago Title   0.20   $300.00      $60.00
                         and Motion for Sanctions

  Service   04/18/2018   email to R Barr re settlement with Chicago Title and        0.20   $300.00      $60.00
                         Motion for Sanctions

  Service   04/18/2018   call with R DiBella re docs for Insurance claim             0.40   $300.00    $120.00

  Service   04/18/2018   call with R Osborne re Hess Oil and insurance issues        0.30   $300.00      $90.00

  Service   04/18/2018   call with K Moss re settlement and Leonetti sale            0.20   $300.00      $60.00

  Service   04/18/2018   call with R Osborne re Leonetti sale                        0.20   $300.00      $60.00

  Service   04/18/2018   review MORdraft for March                                   0.50   $300.00    $150.00

  Service   04/18/2018   call with T Flenner re Fracci Court closing                 0.30   $300.00      $90.00

  Service   04/18/2018   call with J Hackenberg re gas tank at Fracci                0.20   $300.00      $60.00

  Service   04/18/2018   call with R Osborne re gas tank                             0.20   $300.00      $60.00

  Service   04/19/2018   call with S Dahl re company options                         0.80   $300.00    $240.00

  Service   04/19/2018   review closing statement draft for Fracci Court             0.20   $300.00      $60.00

  Service   04/19/2018   emails with T Flenner re Fracci Court closing               0.20   $300.00      $60.00

  Service   04/19/2018   draft motion to sell Girdled Road                           1.50   $300.00    $450.00

  Service   04/19/2018   call with S Franks re Buck sale                             0.20   $300.00      $60.00

  Service   04/19/2018   review and revise schedule A/B                              0.50   $300.00    $150.00

  Service   04/19/2018   call with R Osborne re Fracci court proceeds                0.20   $300.00      $60.00

  Service   04/20/2018   final changes to Motion to Sell Girdled Road and file       0.80   $300.00    $240.00
                         same

  Service   04/20/2018   revise Fracci Court Deed                                    0.50   $300.00    $150.00

  Service   04/24/2018   meeting R Osborne and W Wuliger re various matters          1.50   $300.00    $450.00

  Service   04/24/2018   call with S Dahl re status of bank discussions              0.50   $300.00    $150.00

  Service   04/24/2018   prepare motion to use Erie Bank Cash Collateral             0.60   $300.00    $180.00

  Service   04/24/2018   revise schedules                                            0.50   $300.00    $150.00

  Service   04/24/2018   email with J Tomaszewski re companies                       0.20   $300.00      $60.00

  Service   04/25/2018   revise letter to D DiBella re insurance claim information   1.20   $300.00    $360.00

  Service   04/25/2018   review Erie Bank proofs of claim                            1.50   $300.00    $450.00

  Service   04/25/2018   call with K Moss re sale status                             0.20   $300.00      $60.00

  Service   04/25/2018   call with T Flenner re Fracci closing                       0.20   $300.00      $60.00




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  Service   04/25/2018   email from D Whiteman re closing                      0.10   $300.00      $30.00

  Service   04/25/2018   email to D Whiteman and T Flenner re closing          0.10   $300.00      $30.00

  Service   04/25/2018   email from T Flenner re closing                       0.10   $300.00      $30.00

  Service   04/25/2018   call with R Osborne re various matters                0.20   $300.00      $60.00

  Service   04/25/2018   file operating report for March                       0.20   $300.00      $60.00

  Service   04/26/2018   call with R Osborne re various matters                0.20   $300.00      $60.00

  Service   04/26/2018   prepare report of Fracci Court sale                   0.80   $300.00    $240.00

  Service   04/26/2018   emails with J Weaver re Fracci Court sale funds and   0.20   $300.00      $60.00
                         DIP account

  Service   04/26/2018   email with S Fink re Eire Bank CCO                    0.20   $300.00      $60.00

  Service   04/30/2018   call with R Osborne re various issues                 0.20   $300.00      $60.00

  Service   04/30/2018   review revised complaint from Chicago Title           0.30   $300.00      $90.00

  Service   04/30/2018   email from R Sommers re Girdled Road                  0.10   $300.00      $30.00

  Service   05/02/2018   call with R Osborne re status of matters              0.20   $300.00      $60.00

  Service   05/02/2018   call with G Keating re Chicago Title                  0.40   $300.00    $120.00

  Service   05/02/2018   call with K Roesseler re estate MFRSA                 0.30   $300.00      $90.00

  Service   05/02/2018   draft Motion to Employ Wuliger                        0.20   $300.00      $60.00

  Service   05/07/2018   call with R Osborne re listing agents                 0.20   $300.00      $60.00

  Service   05/07/2018   call with T Seaman re listing for PA                  0.20   $300.00      $60.00

  Service   05/07/2018   call with A Kaufman re listing for Waite Hill         0.20   $300.00      $60.00

  Service   05/07/2018   email from D Whiteman re properties                   0.20   $300.00      $60.00

  Service   05/07/2018   email to R Steinlage re properties                    0.20   $300.00      $60.00

  Service   05/08/2018   email with M Perlmuter re A Sill emplyment            0.20   $300.00      $60.00

  Service   05/08/2018   call with M Perlmuter re A Sill employment            0.20   $300.00      $60.00

  Service   05/08/2018   review agreement with A Sill                          0.40   $300.00    $120.00

  Service   05/08/2018   draft and revise motion to employ A Sill              1.00   $300.00    $300.00

  Service   05/08/2018   email with R Deblasis re fire claim                   0.20   $300.00      $60.00

  Service   05/08/2018   email with R Steinlage re receiver involvement and    0.20   $300.00      $60.00
                         property keys

  Service   05/08/2018   email with D Whitmen re keys                          0.20   $300.00      $60.00




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  Service   05/08/2018   further email with M Perlmuter re changes to motion to   0.20   $300.00      $60.00
                         employ

  Service   05/08/2018   revise and file motion to employ A Sill                  0.50   $300.00    $150.00

  Service   05/10/2018   call with R barr re Chicago Title settlement             0.20   $300.00      $60.00

  Service   05/10/2018   call with S Dahl re bank settlement                      0.40   $300.00    $120.00

  Service   05/10/2018   email with S Fink re Erie Bank payments                  0.20   $300.00      $60.00

  Service   05/10/2018   call with G Denin re Lake Placid forecleoure             0.50   $300.00    $150.00

  Service   05/10/2018   call with r Osborne re erie bank                         0.20   $300.00      $60.00

  Service   05/15/2018   review claims form Cuyahoga County and other parties     1.00   $300.00    $300.00

  Service   05/15/2018   review Objection to Williams Road sale by UST and        0.30   $300.00      $90.00
                         email with R Somers re same

  Service   05/15/2018   review Objection to Concord Hampden Road sale by         0.30   $300.00      $90.00
                         UST and email with R Somers re same

  Service   05/15/2018   review Objection to Girdled Road sale by UST and         0.30   $300.00      $90.00
                         email with R Somers re same

  Service   05/15/2018   review Objection to Girdled Road sale by Citizens and    0.30   $300.00      $90.00
                         email with R Somers re same

  Service   05/15/2018   draft agreed order on Girdled Road Sale                  0.80   $300.00    $240.00

  Service   05/15/2018   emails with M Tucker re order on Girdled Road            0.30   $300.00      $90.00

  Service   05/21/2018   call with R Osborne re status of sale motions            0.20   $300.00      $60.00

  Service   05/21/2018   second call with R Osborne re status of sale motions     0.20   $300.00      $60.00

  Service   05/21/2018   call with R Sommers re status of sale motions            0.20   $300.00      $60.00

  Service   05/21/2018   review operating report and call wut D Whitemen re       0.50   $300.00    $150.00
                         same

  Service   05/21/2018   prepare response to objections to sale of Concord        1.00   $300.00    $300.00
                         Hamden property

  Service   05/22/2018   Hearings on Motions to Sell                              2.50   $300.00    $750.00

  Service   05/22/2018   call with R Osborne re hearing outcomes                  0.30   $300.00      $90.00

  Service   05/22/2018   call with R Osborne Jr re hearing outcomes               0.50   $300.00    $150.00

  Service   05/22/2018   call with G Forbes re status of settlement               0.20   $300.00      $60.00

  Service   05/23/2018   review land sales sheet from R Sommers                   0.40   $300.00    $120.00

  Service   05/23/2018   Call with R Sommers re land sales sheet                  0.20   $300.00      $60.00

  Service   05/23/2018   call with S Fink re AP for Erie Bank                     0.20   $300.00      $60.00




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  Service   05/23/2018   prepare order on Sill retention                               0.40    $300.00        $120.00

  Service   05/23/2018   email with M Perlmuter re Sill retention status               0.20    $300.00         $60.00

  Service   05/30/2018   call with G Keating re CT settlement                          0.50    $300.00        $150.00

  Service   06/04/2018   call with T Flenner                                           0.20    $300.00         $60.00

  Service   06/04/2018   email with R Sommers re Girdled Rd sale                       0.20    $300.00         $60.00

  Service   06/06/2018   call with R Osborne re well valuation on Concord              0.20    $300.00         $60.00
                         Hambden Rd

  Service   06/06/2018   emails with c Coatam re well analysis                         0.20    $300.00         $60.00

  Service   06/07/2018   call with G Forbes re sales of RE                             0.30    $300.00         $90.00

  Service   06/07/2018   call with R Osborne re sales of RE                            0.20    $300.00         $60.00

  Service   06/08/2018   review Motion for 2004                                        0.30    $300.00         $90.00

                                                                                Quantity Subtotal                230.7

                                                                                Services Subtotal           $68,685.00



  Expenses

   Type        Date                              Description                       Quantity     Rate           Total

  Expense   02/05/2018   Parking                                                        1.00        $8.00        $8.00

  Expense   02/06/2018   Parking                                                        1.00        $8.00        $8.00

  Expense   02/07/2018   Printing Costs: 371 X .15 = 55.65 Postage Costs: 371           1.00   $230.02        $230.02
                         at the 1oz rate = 174.37

  Expense   02/20/2018   filing fee motion to sell                                      1.00   $181.00        $181.00

  Expense   03/01/2018   Parking                                                        1.00    $10.00         $10.00

  Expense   03/12/2018   filing fee                                                     1.00    $31.00         $31.00

  Expense   03/27/2018   Parking                                                        1.00    $10.00         $10.00

  Expense   04/03/2018   Printing Costs: 455 X .15 = 68.25 Postage Costs: 455           1.00   $282.10        $282.10
                         at the 1oz rate = 213.85

  Expense   04/05/2018   filing fee                                                     1.00    $31.00         $31.00

  Expense   04/09/2018   filing fee Motion to Sell                                      1.00   $181.00        $181.00

  Expense   04/10/2018   Parking                                                        1.00    $14.00         $14.00

  Expense   04/12/2018   Printing Costs: 1900 X .15 = 285.00 Postage Costs:             1.00   $508.25        $508.25
                         475 at the 1oz rate = 223.25

  Expense   04/16/2018   Filing Fee Motion to Sell Concord Hambden                      1.00   $181.00        $181.00




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  Expense    04/17/2018   Printing Costs: 140 X .15 = 21.00 Postage Costs: 5 at         1.00    $24.45         $24.45
                          the 2oz rate = 3.45

  Expense    04/20/2018   filing fee Motion to Sell Girdled Road                        1.00   $181.00        $181.00

  Expense    05/22/2018   Parking                                                       1.00        $6.25        $6.25

                                                                             Expenses Subtotal               $1,887.07


                                                                                   Quantity Total                230.7

                                                                                         Subtotal           $70,572.07

                                                                                            Total           $70,572.07




 Detailed Statement of Account

  Current Invoice

       Invoice Number           Due On            Amount Due            Payments Received             Balance Due

  76                          07/09/2018               $70,572.07                           $0.00           $70,572.07

                                                                           Outstanding Balance              $70,572.07

                                                                                  Amount in Trust           $26,373.00

                                                                     Total Amount Outstanding               $44,199.07




 Please make all amounts payable to: Frederic P. Schwieg, Esq., Attorney at Law




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